I\J

\DOO‘-.IO\UWJ>.L.»J

 

 

Case 2:15#cv-02247-APG-NJK Document 48 Filed 07/20/16 Page 1 of 30

WRIGHT, FINLAY & ZAK, LLP
Dana Jonathan Nitz, Esq.

Nevada Bar No. 0()050

Sean N_ Payne, Esq_

Nevada BarNo. 13216

7785 W. Sahara Ave, Suite 200

Las Vegas, NV 8911'7

(702) 475-7964; Fax: (702) 946-1345
esmit`h(?D.Wri§htiegal.n@t

spalyge@m~ightleg al.net
Aftorneysfor De_'f??ndm?!s, Bcn'.rk 0fNe1»v York Mellon_. jka Tl?e Bank QfNex#v Yo)'k, as Trustee, on

beha[/`Qj`the holders o_]"the Alf'ernmive Locm Tru.s't 200559, Morigage PasS-T/zrough Cerlfflcafes,
Series 2005-59 (`1'1-1€01*)‘€€1*[)) nmned as ch]c o_fNew Ym'k Me]]o:'.r Cc)rpomtfon, a Delm-mre
Co.lpo:'a!ion and Tl?e Cer'fijicateholders CWALT, IHC. A[Ier)mlive LOGH Tru.$'l 2005»59 Afor‘tgage
PaSS-Throzzgh Cer!q`ficaies, Serz`es, 2005»59,¢1)1 enfity), Selec! Porl[folio Serw'c.r'.'?g, fnc., and
Naiiona] Defaulf' Servicing Corporaf':`o)?

UNITED STATES DISTRICT COURT

I)IS'I`RIC'I` OF NEVADA
WOODBURY LAW, LTD., a Nevada Case No.: 2:15-cv-02247-APG~N.TK
professional corporation,,
Plajntiff, EMERGENCY MOTION FOR
vs. PROTECTIVE ORDER RELATING TO
THE RULE 30(B)(6) DEP()SITIONS
BANK OF AMERICA, NATIONAL NOTICED BY PLAINTIFF

ASSOCIATION, a national baldqing association;
BANK OF NEW YORK MELLON
CORPORATION, a Delaware Corporation; BAC
HOME LOANS SERVICING, LP, a Texas
limited partnership; THE
CERTIFICATEHOLDERS CWALT, INC.
ALTERNATIVE LOAN TRUST 2005-59
MORTGAGE PASS-THROUGH
CERTIFlCATES, SERlES 2005-59, an entity;
ALTERNATIVE LOAN TRUST 2005-59
l\/IORTGAGE PAS S-THROUGH
CERTIFICATES, SERIES 2005-59, an entity;
NATIONAL DEFAULT SERVICING
CORPORAT]ON, an A.rizona corporation;
SELECT PORTFOLIO SERVICING, INC., 21
Utah corporation; ANDREW S. LAI, an
individual; DOES 1-100; ROE ENTITIES 1~100,

 

Defendzmts.

Page 1

 

 

l\)

LJJ

\OOO‘--.]G\U\-lh

 

 

Case 2:15-cv-02247-APG-N.]K Document 48 Filed 07/20/16 Page 2 of 30

Defendants Bank of New York Mellon, fl<a The Bank ofNew Yorl<, as Trustee, on behalf
of the holders of the Al.ternative Loan Trust 200559, Mortgage Pass-Through Certiflcates, Series
2005-59 (incorrectly named as Bank of New York Mellon Coiporation, a Delaware Corporation
and The Certificateholders CWALT, lnc. Alternative Loan Trust 2005»59 Mortgage Pass-
Through Certiflcates, Series, 2005-59,€111 entity) (“BONY Mellon”), Select Poitfolio Servicing,
Inc. (“SPS”), and National Default Servicing Corporation (“NDSC”) (collectivelyJ
“Defendants”), herby moves this Court for a protective order pursuant to F.R.C.P. 26(c) to
relieve Defendants of their obligation to produce witnesses for the three depositions Woodbury
Law, LTD. (“Plaintifl"") has scheduled on the last day of discovery, .luly 29, 2016.

Given that the depositions are noticed for July 29, 2016, Defendants respectfully request
the Court to hear this matter on a shortened basis because a hearing set in the ordinary course

will not be heard before the date and time set for the depositions

CERTIFICATION OF COUNSEL PURSUANT TO LR 26-7 & LR 7-4
I, Sean N, Payne, Esq., hereby declare as ‘li`ollows:
l. l have personal knowledge of the matters contained herein, except for those matters
stated upon information and belief, and f am competent to testify as to the matters stated

herein.

!\)

l am an attorney licensed to practice law in the State ofNevada, am an attoniey with
Wright Finlay & Zalc, LLP, and am one of the attorneys representing Defendants Bank of
New York Mellon, tka The Banl< of New YorltJ as Trnstee, on behalf ofthe holders of the
Alternative Loan Trust 200559, Mortgagle Pass-Throngh Certificates, Sel'ies 2005-59
(incorrectly named as Bank ofNew York Mellon Corporation, a Delaware Corporation
and 'l`he Certiticateholders CWALT, Inc. Aiternative Loan 'I`rust 2005»59 l\/Iortgage Pass-
'l`hrough Certi'l'icates, Series, 2005-59, an entity) (“BONY Mellon”), Select Portfolio
Servicing, lnc. (“SPS”), and National Default Servicing Coiporation (“NDSC”)

(collectively, “Defendants”).

Fage 2

 

 

l\J

\OOO*--]O\U`\-LL»J

Case 2:15-cv-02247-APG-N.]K Document 48 Filed 07/20/16 Page 3 of 30

10.

11.

1 make this Declaration in support of Defendants’ Emergency Motion for Protective
Order Relating to the Rule 30(b)(6) Depositions Noticed by Plaintiff.

On January 25, 2016, this Court entered its (f.irst) Scheduling Order, which set the close
of discovery date as l\/lay 30, 201 6.

On May 20, 2016, and in response to a stipulated request to extend the deadline for
discovery, this Court entered a revised (second) Schedu]ing Order, which extended the
close of discovery date to July 29, 2016.

On lane 8, 2016, Defendants served, via United States Mail, on Plaintif{"'s counsel (i)
Defendants’ First Set oflnten'ogatories to the Plaintift`; (ii) Defendants’ First Set of
Requests for Production of Documents to the Plaintiff; and (iii) Defendants’ First Set of
Requests for Admissions to the Plaintiff.

On June 30, 2016, Defendants served their Notic-e of Taking Deposition of Woodbury
Law, LTD., which scheduled the deposition of Plaintiff' s Rule 30(‘0)(6) witness to take
place on .iuly 15, 2016 at 10:30 a.m. at the office of Defendants’ counsel.

To date, Plaintiff has not served a single written discovery request on BONY Melion,
SPS, or NDSC.

On July 12, 2016, at approximately 2:46 p.m., counsel for Plaintiff, Rodney Woodbury,
Esq., sent me an e-mail requesting an extension of time to respond to our written
discovery requests

ln response, 1 notified l\/lr. Woodbury that his responses were already past due, as they
were due July 11, 2016, and as a result that Defendants’ Requests for Admissions were
therefore deemed admitted pursuant to F.R.C.P. 36(a)(3).

Further, l declined his request for an extension in light of the upcoming deposition we

had scheduled of Plaintiff.

. On J`uly 13, 2016, at approximately 4:30 p.m., my office was served With Plaintiff's

Responses to Defendants’ First Set ofRequests for Admissions via hand delivery.

. Also on .luly 13, 2016, at approximately 4:30 p.m,, my office was served with separate

Notices of Tal<ing Rule 30(b)(6) Depositions ofBONY l\/lellon, SPS, and NDSC, which

Page 3

 

 

 

 

1\)

\.CJOG-.;IO\Ln-|>-L»J

 

Case 2:15-cv-02247-APG-N.]K Document 48 Filed 07/20/16 Page 4 of 30

14.

15.

16.

17.

lS.

19. After being notified that my clients could not produce a witness suitable to testify in this

20. ln response, Pla'intiff's counsel stated that he would be out of town, and his associate, l\/lr.

21.

scheduled the depositions of all three parties on the last day of discovery, July 29, 2016,
at 9:00 a.m., l0:30 a.m., and 1:00 p.m. Pursuant to LR 26-7(b), the three notices are
attached hereto as Exhibits A to C.

On July 14, 2016, at approximately 2:00 p.m., l contacted Plaintiff’s counsel to inquire
about the responses to Defendants’ additional written discovery requests - lnterrogatories
and Requests for Production of Documents.

These responses were not received until approximately 4:30 p.m. on July 14, 2016, and,
as a result, we had to reschedule our deposition of Plaintiff’s Rule 30(b)(6) witness to
provide time to review Plaintiff’s responses

During the moniing of .1 uly 15, 2016, 1 called Plaintiff's counsel and spoke with Mr,
Woodbtuy to inform him that it was very unlikely my clients would be able to present
witnesses for the depositions scheduled on July 29, 2016, in light of the short notice and
the fact that We could not consider later dates without going beyond the close of
discovery deadline, but nonetheless stated that l would confer with my clients for
alternative dates.

On .1 uly 15, 2016 at 12:58 p.ni., 1 emailed Mr. Woodbury and his associate, Jordan Peel,
Esq., to inform Plaintiff's counsel that we could produce a witness for BONY l\/lellon and
SPS on either J`uly 19“‘, 20th, or 21Sl 2016, and further informed him that 1 had not secured
any earlier dates that NDSC would be able to produce a witness at that time.

In response, Plaintift"s counsel stated that all cf our proposed alternative dates were

problematic, and proposed Jul.y 25, 2016.

matter the week of July 25 -~ 29, 2016, because of other appearances, l proposed an

additional date - .luly 22, 2016.
Peel, had other obligations on .ltsly 22, 2016.

Despite Defendants’ best effortsj we could not agree on an alternative date prior to the

deadline to complete discovery to conduct the depositions ofDefendants’ respective Rule

Page 4

 

 

 

\DOO*-]O\Lh-l>-L»Jt\_]»_~

sum
CJ

 

Case 2:15-cv-02247-APG-N.]K Document 48 Filed 07/20/16 Page 5 of 30

30(b)(6) witnesses

22. ln light of Plaintiff"s failure to conduct any prior discovery during this litigation, coupled
with PIaintiff" s last-ditch effort to schedule depositions of all three defendants on the last
possible day to conduct discovery, Defendants object to any additional extensions of the
deadline to conduct discovery.

23. Pursuant to LR 7-4(a)(2), the following contact information is provided for the affected

parties:
WRIGHT, FINLAY & ZAK, LLP WOODBURY LAW
Edgar C. Smith, Esq. Rodney S. Woodbury, Esq.
Sean N. Payne, Esq. Jordan B. Peel, Esq.
7785 W. Sahara Ave, Suite 200 50 S. Stephanie Street, Suite 201
Las Vegas, NV 89117 Henderson, NV 89012
(702) 475-7964 (702) 933-0777
Cozmse]jor Defendonts ’ Cormselfor Plcrin!r'j

24. Pursuant to LR 26-7(c), l have made a good faith attempt to confer with the other parties
to resolve the dispute without court action.
25. Given the date set for the depositions, .iuly 29, 2016, good cause exists to hear this
Motion on shortened time.
Pursuant to 28 U.S.C. § 1746, 1 hereby declare under penalty of perjury that the
foregoing is true and correct.

, a
Executed this 010 day of .luly, 2016.

aaa /\/. 1221

Name: Sean N. Payne, E@ \
Title: Associate Attomey

Page 5

 

 

 

Case 2:15-cv-02247-APG-N.]K Document 48 Filed 07/20/16 Page 6 of 30

MEMORANDUM OF POINTS AND AUTHORITIES
I. INTRODUCTI()N

'fhis is the fourth forum Woodbury liawJ LTD (“Plaintiff”) has attempted to litigate its
purported ownership interest in the real property located at 1999 Alcova Ridge Drive, Las Vegas,
Nevada 89135 (the “Property). Plaintiff"s alleged interest in the Property arises from a Slieriffs
Certificate resulting from a 2009 auction wherein the law finn Woodbury, l\/lorris, and Brown,
Ltd. (not Woodbury Law, LTD) was the high bidder with a $250.00 bid. The Sheriff”s
Certificate of Sal.e was never recorded against the Property, nor was it converted to a deed.
Notwithstanding these facts, Plaintiff purports to be the owner of the Property, valued at
approximately 81,300,000, free and clear of BONY Mellon’s recorded and properly perfected
security interest, and without paying a dime towards the balance outstanding on the debt used to
purchase the Property. Additionally, Plaintiff avers that it can somehow step into the shoes of
Andrew Lai, the bon'ower under the Note and Deed of Trust__ and bring claims against not only
Defendants, but Andrew Lai as well, concerning the loan origination and servicing

The current action has now been pending for almost a year, and notwithstanding a
previous extension of the discovery deadline, Plaintiff has failed to conduct any discovery in this
case. Now, as a last-ditch effort, Plaintiff seeks to depose the Rule 30(b)(6) witnesses for BONY
Mellon, SPS, and NDSC back-to-back~back on the last day set for discovery, .luly 29, 2016, and
with minimum notice. 1n response, Defendants’ promptly notified Plaintiff’s counsel that it was
unable to produce witnesses on luly 29, 2016, but offered four alternative dates - thly 19, 20, 21,
or 22, 2016 - all of which were rejected by Plaintiff. l\/loreover, the deposition notices include 39
separate topics, largely identical for one witness to the next, for which these witnesses are
expected to be prepared as absolutely no effort was made by Plaintiff to limit the scope of these
depositions through prior written discovery.

This Court should enter a protective order barring the noticed depositions from
proceeding to put a halt on Plaintiff’s unreasonable attempt to conduct a fishing expedition
/ / /
/ / /

Page 6

 

 

 

 

l\.)

\DOO‘--JGNLh-l>~b)

Case 2:15-cv-02247-APG-N.]K Document 48 Filed 07/20/16 Page 7 of 30

II. LEGAL ARGUMENT

Federal Rule of Civil Procedure 26(c) permits a party to move for a protective order
regarding discovery upon certification that the movant has in good faith attempted to confer with
the other parties to resolve the dispute without court action. Thereafter, the court may, “for good
cause, issue an order to protect a party or person from annoyance, embarrassment, oppression, or
undrre burden or expense....” Fed. R. Civ. P. 26(c)(1). A protective order may include an order
that the discovery not be had. lo'. ln light of the instant facts, as laid out in the above certification
of counsel pursuant to LR 26-7 and LR 7-4, this Cour't should enter a protective order barring
Plaintiff’s noticed depositions of the Rule 30(13)(6) witnesses for BONY M`ellon, SPS, and
NDSC that (1) creates an undue burden on these parties (2) does not provide “reasonable” notice
as required by Rule 30(b)(1) given the scope of tlre topics to be covered, and (3) is clearly an
effort to annoy Defendants.

The initial Scheduling Order was entered in the instant action on January 25, 2016. In the
past six months Plaintiff has made Zero effort to conduct any discovery. Moreover, Plaintiff has
impeded Defendants’ efforts to conduct its own discovery through its failure to timer respond to
Defendants’ written discovery requests which were due .luly 1 1, 2016.l Notably, after
undersigned counsel notified Plaintiff on July 13, 2016, that Defendants’ Requests for
Admissions were deemed admitted pursuant to F.R.C.P. 36(a)(3), Plaintiff hand-delivered its
Responses to Defendants’ Requests for Admissions and concurrently served the three Notices of
Depositions of the Rule 30(b)(6) witnesses for BONY Mellon, SPS, and NDSC. These notices
each include thirty-nine (3 9) separate and broad topics, and the depositions are scheduled for
9:00 a.m., 10:30 a.m._. and 1.:30 p.m.

By its own inactions, Plaintiffhas failed to exhibit a desire to conduct discovery in this
litigation This is buttressed by Plaintiff" s failure to make any good~faith effort to elicit prior
admissions or responses through written discovery, which would have narrowed the scope of the

depositions Notwithstanding these facts, Defendants attempted to work with Plaintiff`s counsel

 

E As a result of these late responses Defendants were forced to reschedule their deposition of
Plaintiff's Rule 30(b)(6) witness

Page 7

 

 

 

 

>_t

CJ \D 00 '-~.1 O\ Ut -lh L)J [\J

p-a

»_1 -_- »_- )_l --- »-)
"--.I O'\ Ul h UJ l\.)

,_.
00

Case 2:15-cv-02247-APG-N.]K Document 48 Filed 07/20/16 Page 8 of 30

to provide four alternative dates for the depositions l-lowever, Plaintiff rejected each of the
proposed alternative dates The unreasonably broad scope of the depositions coupled with the
minimum notice creates an undue burden for these out-of»state Defendant corporations to
produce witnesses sufficiently knowledgeable of the numerous topics to be covered. Defendants
aver that these depositions are solely an effort to annoy and harass If Plaintiff truly wanted to
conduct discovery in this case, it would have served written discovery, and would not have
waited until the absolute last day to conduct depositions - a deadline that was set pursuant to a
previous extension - and attempt to squeeze in three back-to-back-to-back depositions
Plaintiff" s bad~faith, last-ditch effort to conduct discovery should not be permitted to proceed
III. CONCLUSION

This Court should enter a protective order barring the noticed depositions from
proceeding, and precluding Plaintiff"s unreasonable attempt to conduct a last-ditch fishing
expedition through an unreasonable breadth of topics

DAran this ?_d_m,/dEW/or_mry, 2016.

Respectfully submitted by:

WRIGHT, FINLAY & ZAK_. LLP

,r;//¢f/W

D/ana .l,e'hathan Nitz Esq.
Nevada Bar No. 00050

Sean N. Payne, Esq.

Nevada BarNo. 13216

7785 W. Sahara Ave, Suite 200
Las Vegas, NV 89117

Af!r)rrreysfor BON 1’, NDSC, and SPS

Page 8

 

 

 

 

Case 2:15-cv-02247-APG-N.]K Document 48 Filed 07/20/16 Page 9 of 30

CERTIFICATE OF SERVICE
1 HEREBY CERTIFY that l arn an employee of WRIGHT, FINLAY & ZAK, LLP and
that service of the foregoing EMERGENCY MO'I`ION FOR PROTECTIVE ORDER
RELA'I"ING 'I`O THE RULE 30(B)(6) DEPOSITIONS NOTICED BY PLAINTIFF was
made on the 20th day of July, 2016, to all parties and counsel identified on the CM/ECF System

U\-lhl.»-Jt\.)

C\DOQ'--JG\

via Electronic Notifrcation.

.lordan B Peel

Rodney S. Woodbury

Woodbur'y Law

50 S. Stephanie Street
Suite 201

Henderson, NV 89012

Ariel E. Stern

Matthew 1 Knepper
Akerman LLP

1160 Town Center Drive
Suite 330

Las Vegas, NV 89144

/S/ Fail‘l? K. Horrr`s
An Employee of WRIGHT, FINLAY & ZAK, LLP

Page 9

 

 

 

 

Case 2:15-cv-02247-APG-N.]K Document 48 Filed 07/20/16 Page 10 of 30

EXHIBIT A

EXHIBIT A

EXHIBIT A

Woonnum' LAW

50 S. Stepiranic Strecl__ Suite 201

I-lcnderson. chrrrla 89012
(702) 933-0777+ Fax (?02) 933~0778

id

'---'|O'\Ul.$:.|_¢_l

 

Case 2:15-cv-02247-APG-N.]K Document 48

Rodney S. Woodbury, Esq.
Nevada Bar No. 7216

jordan B. Pcel, Esq.

Nevada Bar No. 11678
WOODBURY LAW

50 8. Stephanie Street, Suite 201
l-Ienderson, Nevada 89012

(702) 933-0777

(702) 933»0778
rwoodburv@wmb-law.net

]'peelt?i).wmb-law.net

Filed 07/20/16 Page 11 of 30

UN]TED STATES DISTRIC'I` COURT
DISTR_ICT OF NEVADA

WOODBURY LAW, LTD., a chada
professional corporation,

PlaintiffJ
vs

BANK OF Al\/LERICA, NATIONAL
ASSOCIATION, a national banking
association; BANK OF NEW YORK
MELLON CORPORATION, a Delaware
corporation; BAC HOME LOANS
SERVICING, LP, a Texas limited
partnership; Tl-IE CERTIFICATEHOLDERS
CWALT, JNC. ALTERNATIVE LOAN
TRUST 2005-59 MORTGAGE PASS-
THRC}UGH CERTIFICATES, SERIES
2005-59, an entity; ALTERNATIVE LOAN
TRUST 2005-59 MORTGAGE PASS-
TI~:IROUGH CERT[FICATES, SERIES
2005~59, an entity; NATIGNAL DEFAULT
SIERVIC]NG CORPORATION, an An`zona
corporation; SELECT PORTFOLIO
S`ERVICING, INC., a Utah corporation;
ANDRE'.W S. LAI, an individual; DOES 1~
10(1; ROE ENTlTiES 1~100.

Defendants

 

 

TO:
TO:

Case No. 21 l 5-cv-02247~APG-N.1K

No'rrc;c or TAKI"NG RULE ao(b)(e)
nnPosITroN or DEFENDANT
sELECT PoRrFoLro snerCrNG,
lNC.

Date ofDeposition: July 29, 2016

Time of Deposition: 9:00 a.rn.

SELECT P()RTFOLIO SERVICING, INC.
SEAN N. PA¥NE, ESQ., its attorney of record.

PLEASE TAKE NOTICE that Plaintiff/ Counterdefendant WOODBURY LAW shall take

 

Wooneunv LAw

50 S. Step!uruic Srrcct, Suitc 201

i-leudcrson, chada 89012
(702) 933»0777+ Fr.Ls (702) 933-0778

 

Case 2:15-cv-02247-APG-N.]K Document 48 Filed 07/20/16 Page 12 of 30

the deposition of Defendant SELECT PORTFOLIO SER.VICING, lNC. (“SELECT
PORTFOLIO”), on July 29, 2016 at 9:00 a.m. in the offices of Woodbury Law, Ltd., 50 S.
Stephanie Str'eet, Suite 201, I~Ienderson, Nevada 89012, upon oral examination, pursuant to Rule
30 of the Federal Rules ofCivil Procedure.

YOU ARE FURTl-IER NOTIFIED that the deposition shall be taken before a certified court
reporter, notary public or other officer authorized to administer oaths by the State ofNevada at the
place where the deposition is to beheld. The deposition will be recorded by stenographic means
You are invited to attend and to cross-examine

YOU ARE FURTI~IER NOT[FIED that the deponent is not a natural person Pursuant to
Federal Rule of Civil Procedure 30(b)(6), you are advised of SBLECT PORTFOLIO’s duty to
designate one or more of its knowledgeable officers directors managing agents, commissioners
employers or other persons who consent to testify units behalf concerning the subjects identified
in this noticeh SELECT PORTFOLIO shall designate one (l) or rnore persons to testify on its behalf
who shall be expected to testify and provide full and competent testimony in the following areas
of inquiry:

l. The terms of the loan in the original principal amount of$999,950.00 (the “_LLA_])I“")
which Andrew S. Lai (“M”) purportedly obtained from Countrywide Home Loans, Inc.

(“COUNTRYWIDE”) on or about September 15, 2005;
2. The promissory note LAl purportedly executed in favor of COUNTRYWIDE on or
about September 15, 2005 in the original principal amount of 3999,950.00 (the c‘M._(_)__'l_:§");

3. The deed of trust LAI purportedly executed in connection with the LOAN recorded
on September 21, 2005 in Book No. 20050921, as lastrument No. 0002040 in the Oflicial Records
of the Recorder of Clark County, Nevada (the °‘DEED OF TRUST”) against certain real property
commonly known as 1999 Alcova Ridge Drive, Las Vegas, Nevada 89135, APN 164~02»220-007
(the “PROPERTY");

4. Any other documents memorializing, evidencing, or pertaining to the LOAN

(together with the NOTE and DEED OF TRUST, collectively the “LOAN DOCUlvaNTS”);

5 . Any other contract, agreement, notice7 or document in any way pertaining to the

Page 2 of 6

 

Wool)auav LAw

50 S. Sicphanie Streel1 Suitc: 201

E'lcndcrson, Nevadn 890 12
(702) 933-0777+ Fa\‘ (702) 933-0773

Case 2:15-cv-02247-APG-N.]K Document 48 Filed 07/20/16 Page 13 of 30

l\_\

b.)

 

LOAN, LAI, or the PROPERTY;

6. SEL`ECT PORTFOLIO’B intercst, if any, in the LOAN, in any of the LOAN
DOCUMENTS, and/or in the PROPERTY;

7. The interest, if anyJ of any other individuals or entities (collectively “PERS ONS”),
including any ol" the other Defendants, in the LO.AN, in any of the LOAN DOCUMENTS, and/or
in the PROPERTY, including, without limitation, the identity of any investors therein;

8. SELECT PORTFOLIO’s past and present relationship with each of the other
Defendants in connection with the LOAN, the LOAN DOCUMENTS, and/or the PROPERTY;

9. The legal status ofALTERNATIVE LOAN TRUST 2005 5 9 MORTGAGE PASS-
THROUGH CBRTIFICATES, SERIES 2005-59 (the “M”) and its relationship to and role in
connection with the LOAN, any of the LOAN DOCUMENTS, and/or the PROPERTY;

10. Negotiation, escrow, and ciosing of the LOAN and Defendant LAl’s acquisition of
the PROPERTY;

11. Any purported assignment(s), conveyance(s), negotiation(s), or transfer[s) of any
interest in the LOAN or any of the LOAN DOCUM'ENTS, the authority for doing so, the chain-of-
title and/or chain-oi"-authority in connection with the same, and compliance with Nevada Revised
Statutes ("_NM”) Chapter 104 and any other applicable laws in connection with the same;

l.'l. Any purported appointment(s), designation(s), substitution{s), or other
engagement(s) of LOAN Servicers, LOAN officers LOAN bi'olters, trustees under the DEED OF
TRUST, or any other agents or representatives in connection with the LOAN or any of the LOAN
DOCUMENTS, the authority for doing so, the chain-of-authority in connection with the same, and
compliance with applicable laws in connection with the same;

13. Past and current possession of the original NOTE and the chain~of~custoc|y in
connection with the same;

14. SELECT PORTFOLIO’$ and its predecessors’ investigation of LAI and other due
diligence efforts in connection with the negotiation, making, and/or acquisition of any interest in
the LOAN, in any of the LOAN DOCUMENTS, and/or in the PROPERTY, including, Without

limitation, background checlcs, public records searches, determination ofdeht~to-income and debt-»

Page 3 of 6

 

Woor)aunv LAw

50 S. Slephanic StrceL, Suite 201

l~lcnderson1 Nevadn 890 12
(702) 933-0777+ Fa.\' (702) 933-0778

Case 2:15-cv-02247-APG-N.]K Document 48 Filed 07/20/16 Page 14 of 30

 

to~vahre ratios, and screening of LAI’s inanciai ability to repay the LOAN;

15. Compliance with applicable federal and state laws in connection with the LOAN;

16. The making or failure to make required or permissive disclosures in connection with
tire LOAN, including, widrout lilnitation, information relating to real estate commissions, broker
fees, HUD-l settlement statenients, good faith estimates, facts material to LAI’s decision to accept
or reject the LOAN, and other disclosures mandated or permitted by applicable laws or regulations;

i'!. A full accounting ofall payments made by LAI or any other PERS ON in connection
Witlr the LOAN, including the dates thereot`;

lS. A full accounting of all i"ees, costs, expenses, points, commissions, interest, and
other charges assessed to LAI or any other PERSON in connection with the LOAN, including the
dates thereof and any formulas used in the calcuiation of the same;

19. A hill accounting of all amounts credited to LAI or any other PERSON in
connection with the LOAN, including the dates thereof;

20. A full accounting ol:`all services rendered in connection with the LOAN by SELECT
PORTFOLIO or any other PERSON, including, without limitation, by the respective employees,
agents, and/or representatives of SELECT PORTFOLIO and its predecessors-in-interest,
successors-in-interest, subsidiaries, parent companies, or other affiliates;

.?.l. SELECT PORTFOLIO’s policies, procedures, and customary practices, together

with industry-standard policies, procedures, and customary practices in the financing and lending

industries;

22. Any additional or future advances made to LAl or any other PERS ON in connection
with the LOAN;
23. The value of the PROPERTY and any equity therein at the time the LOAN was

originally made and at any time thereafter, including at the time any additional or future advances

were made;

24. Attempts to exercise any power of sale under the DEED OF TRUST or to otherwise
foreclose on the PROPERTY, including, without limitation, authorizations to proceed and other

decision-melting authority in connection with the same;

Page 4 of 6

 

Woonaunv LAW

50 S. Stephunie Strcct7 Suile 201

l-Icnderscn, Nevurla 890i2
(702} 933-0777+ Fas (703.) 933-0778

Case 2:15-cv-02247-APG-N.]K Document 48 Filed 07/20/16 Page 15 of 30

 

25. Any alleged assignment of rents or other claim to rents arising from the
PROPERTY, including, Without li.mitation, any authority for the same;

26. Any and all notices of default and election to sell under the DEED OF TRUST,
including, Without limitation, the Noticc oi" Default and Election to Sell under Deed of Trnst
recorded on October 30, 2014 in Boolc No. 20141030, as Instrument No. 0003348 in the Oi`icial
Records of the Recorder of Ciarlc County, Nevada;

27. Any and all notices of trustee’s sale pertaining to the PROPERTY, including,
without l.iinitation, the Notice of Trustee’s Sale recorded on Fehruary 5, 2015 in Boolc No.
20150205, as instrument No. 0000157 of the Ot`ficial Records of the Recorder of Clarlc County,
Nevada and the Notice of Trustee’s Sale recorded on luly 24, 2015 in Boolr Nc. 201 50724, as
lnstrnment No. 0000495 oi` the C)H'icial Records oi" the Recorder of Clarl< County, Nevada;

28. Any and all attempted or scheduled trustee’s sales or auctions of the PROPERTY,
together with any postponements or reschedulings thereoi", inclnding, without limitation, those
scheduled on March 3,2015,Apri16, 2015, April 15, 2015, and August 19, 2015;

29. Any unpaid LOAN balances alleged in any notices oi`det`ault, notices ofsale, payoff
statements, payment histories, or any other noticesJ accountings, or documents;

30. Written and verbal responses to Plaintil“i’ s and any other PERSON’s requests for
an accounting of alleged LOAN balances, charges, payments, or credits and/or for validation or
verification of the debt alleged to be due and owing, including, without limitation, payoff
statements, payment histories, and any other accountings provided;

31. Policies, procedures, and/or practices followed to validate, verify, and account for
the alleged debt and LOAN balances, including, without limitation, charges, payinents, and credits.

32. Facts and other evidence suppolting SELECT PORTFOLIO’B affirmative defenses
and any other defenses to Plaintili'"s claims in the instant action;

33. The meaning of abbreviations and accounting codes listed on payoff statements,
payment histories, and other accountings provided in connection with the LOAN, together with any

interpretive keys therefor;

34. Inconsistencies in the LOAN balances alieged to be due and owing over tirne;

Page 5 of 6

 

Wooonunv LAW

50 S. Stephanic Strect. Suite 201

l~lendcrson, Nevadn 89012
(702) 933-0777+ Fax (`;'02} 933-077$

unnth

 

Case 2:15-cv-02247-APG-N.]K Document 48 Filed 07/20/16 Page 16 of 30

35. Any communications with LAI, the other Defendants, Plaintiff, or any other

PERSON related to or in connection with the LOAN, the LOAN DOCLMENTS, or the

PROPERTY; and
36. Any other matters related to or arising out of the LOAN, the LOAN DOCUMENTS,

the PROPERTY, or the instant action.

DATED this lf`)th day of luly, 2016. WOODBURY LAW

/s/ Roa’ney S. Wocdbmj)

 

Rodney S. Woodbury, Esq.
Nevada Bar No. 7216

lordan B. Peel, Esq.

Nevada Bar No. 11678

50 S. Stephanie Street, Suite 201
l-Ienderscn, Nevada 89012
Aftorneys for Plrrintf)j"

RECEH"I` OF COPY
The undersigned hereby acknowledges receipt of the foregoing NOTICE OF TAKING
RULE 30(1))(6) DEPOSITION OF DEFENI)ANT SELECT PORTFOLIO SERVICING, INC.

on behalf of Wright, l~`inlay, & Zalc, LLP on the date set forth below.
Wright, Finlay, 6a Zalt, LLI’

By: H/\ m

Nanie: MGE}S§@L RC§N¢`C/¢
Title: GDMI`M dl§§T.

Date: luly 13, 2016

Page 6 of 6

 

Case 2:15-cv-02247-APG-N.]K Document 48 Filed 07/20/16 Page 17 of 30

EXHIBIT B

EXHIBIT B

EXHIBIT B

Woonnunv LAW

50 S. Stephrmie Street, Scite 201

l-lcndcrson, chada 890 12
(70?.} 933»0777+ Fn.\' (?02) 933-0778

l\.J

\DOO‘-]G\U`I-D-b)

 

Case 2:15-cv-02247-APG-N.]K Document 48

Rcdney S. Woodbury, Esq.
Nevada Bar No. 7216

Jordan B. Peel, Esq.

Nevada Bar No. 11678
WOODBURY LAW

50 S. Stephanie Street, Suite 201
Henderson, Nevada 89012

(702) 933-0777

(702) 933~0778
rwoodburv@mnb-law.net

}'peel@wml:)_-law.net

Filed 07/20/16 Page 18 of 30

UNITED STATES DISTRICT COURT
DISTRIC'I' OI*` NEVADA

WOODBURY LAW, L'l`D., a chada
professional corporation,

Plajntiff,
vs.

BA_NK OF AMERICA, NATIONAL
ASSOCIATION, a national banking
association; BANK OP NEW YORK
MELLON CORPORATION, a Delaware
corporation; BAC I~lOl\/l_E`. LOANS
SER'VTCING, LP, a Texas limited
partnership; Tl-IE CERTIFICATEHOLDERS
CWALT, INC. ALTERNATIVE LOAN
TRUST 2005-59 MORTGAGE PASS-
TI-IROUGl-l CERTIFICATES, SER_[ES
2005-59, an entity; ALTERNATIVE LOAN
TRUST 2005-5 9 MOR'|_`GAGE PASS-
THROUGl-l CERTIPICATES, SERIES
2005-59, an entity; NATIONAL DEFAULT
SERVICING CORPORATION, an Arizona
corporation; SELECT PORTFOLIO
SERVIC]NG, INC., a Utah corporation;
ANDREW S. LAI, an individual; DOES 1-
100; R.OE ENTITIES l-100.

Defendants

 

 

Case No. 2: 15 -cv-02247-APG»NJK

NoTrCn oF TAKING RULE so(b)(e)
nnPosrrroN or nEFENnANT
NATIONAL DEFAULT snavrcnvo
coaPonA'rIoN

Date of Deposition: july 29, 2016

Tinse of Deposition: 10:30 a.ni.

TO: NATIONAL DEFAULT SERVICING CORPORATION

TO:

SEAN N. PAYNE, ESQ., its attorney of record.

PLEASE TA_K_E NOTICE that Plaintiff/ Counterdefendant WOODBURY LAW shall take

 

WOODBU.RY LAW

50 S. Stcphanie StrceL, Suite 201

E-Icnderson, chada 89012
(702) 933-0777+ Fax (702) 933-0778

-l=-Lutc)

\DDG--..]CJ\U'\

 

Case 2:15-cv-02247-APG-N.]K Document 48 Filed 07/20/16 Page 19 of 30

the deposition of Defendant NATIONAL DEFAULT SERVICING CORPORATION (“NDSC”),
on July 29, 2016 at 10:30 a.m. in the offices ofWoodbuiy Law, Ltd., 50 S. Stephanie Street, Suite
201, Henderson, Nevada 89012, upon oral examination, pursuant to Rule 30 of the F ederal Rules
of Civil Procedure.

YOU AR.E FURTHERNOTIPIED that the deposition shall be taken before a certified court
reporter, notary public or other oflicer authorized to administer oaths by the State ofNevada at the
place where the deposition is to beheld. The deposition will be recorded by stenographic means.
You are invited to attend and to cross-examinel

YOU ARE FURTHER NOTIFIED that the deponent is not a natural person. Pursuant to
Federal Rule of Civil Proeedure 30([))(6), you are advised ofNDSC’s duty to designate one or more
of its knowledgeable ofticers, directors, managing agents, commissioners, employers or other
persons who consent to testify on its behalf concerning the subjects identilied in this notice. NDSC
shall designate one (l) or more persons to testify on its behalf who shall be expected to testify and
provide full and competent testimony in the following areas of inquiry:

l. The terms of the loan in the original principal amount of $999,95 0,00 (the “L_OM ")
which Andrew S. Lai (“"LAI””) purportedly obtained h'om Countrywide Hoine Loa;ns, luc.

(“COUNTRYWIDE”) on or about Septeniber 15, 2005;
2. The promissory note LAl purportedly executed in favor ofCOUNTRYWIDE on or
about Septeniber 15, 2005 in the original principal amount of $999,950.00 (the ‘TjQI§”);

3. The deed of trust LAl purportedly executed in connection with the LOAN recorded
on Septernber 2 l, 2005 in Book No. 2005 092 l, as lnstrument No. 0002040 in the Official Records
of the Recorder of Clark County, Nevada (the “DEED OF TRUST”) against certain real property
commonly known as 1999 Alcova Ridge Drive, Las Vegas, Nevada 89135, APN 164-02-220-007
(the “PROPERTY");

4. Any other documents memorializing, evidencing, or pertaining to the LOAN

(together with the NOTE and DEED OF TRUST, collectively the “LOAN DOCUMENTS”);

5. Any other contract, agreement notice, or document in any way pertaining to the

LOAN, LAl, or the PROPERTY;

Page 2 of 6

 

WoonauRY LAW

50 S. Stcphante 5ach Suite 201

l-lencicrson, Nevndu 89012
(702) 933-0777+ Fn_\t (702) 933-0778

Case 2:15-cv-02247-APG-N.]K Document 48 Filed 07/20/16 Page 20 of 30

1\.)

\DCO--.JG\LAJL

 

6. NDSC’s interest, if any, in the LOAN, in any of the LOAN DOCUMENTS, and/or
in the PROPERTY;

7. The inte_rest, if any, of any other individuals or entities (collectively “PERS ONS”)3
including any ofthe other Defendants, in the LOAN, in any of the LOAN DOCUMENTS, and/or
in the PROPERTY, including, without limitation, the identity of any investors therein;

8. NDSC’s past and present relationship with each of the other Defendants in
connection with the LOAN, the LOAN DOCUMENTS, andfor the PRC)PERTY;

9. The legai status ofALTERNATI\/E LOAN TRUST 2005 59 MORTGAGE PAS S~
THROUGI~I CERTIFICATES, SERlES 2005-59 (the “_T;u_st”) and its relationship to and role in
connection with the LOAN, any of the LOAN DOCUMENTS, and/or the PROPERTY;

10. Negotiation, escrow, and closing ofthe LOAN and Defendant LAl’s acquisition of
the PROPERTY;

ll. Any purported assignnient(s), conveyance(s), negotiation(s), or transfer(s) of any
interest in the LOAN or any of the LOAN DOCUMENTS, the authority for doing so, the chain-of-
title and/or chain-of-authority in connection with the same, and compliance with Nevada Revised

Statutes (“NRS”) Chapter 104 and any other applicable laws in connection Witll the same;

 

12. Any purported appointment(s}, designation(s), substitution(s), or other
engagement(s) of LOAN servicers, LOAN officers LOAN brolters, trustees under the DEED OF
TRUST, or any other agents or representatives in connection with the LOAN or any of the LOAN
DOCUMENTS, the authority for doing so, the chain~of-authority in connection with the same, and
compliance with applicable laws in connection with the same;

13. Past and current possession of the original NOTB and the chain-of-custody in
connection with the earne;

14. NDSC’s and its predecessors’ investigation of LA_l and other due diligence efforts
in connection with the negotiation, malcing, and/or acquisition of any interest in the LOAN, iri any
of the LOAN DOCUl\/IENTS, and/or in the PROPERTY, including, without ]irnitation, background
checks, public records searches, determination of debt-to-inconie and debt-to-valne ratios, and

screening of LAl’s Enancial ability to repay the LOAN;

Page 3 of 6

 

WOODBURY LAW

50 S. Stcphnnie Slrccl', Suitc 201

chdcrson, Nc\!ada 890|2
(702) 933-0777+ Fa_s (702) 933-0778

Case 2:15-cv-02247-APG-N.]K Document 48 Filed 07/20/16 Page 21 of 30

\.DM~_.\C~\

10

l2
13
l¢l
15
16
17
18
19

l\..J E\J
*-‘ CJ

lk_)
|\J

 

15. Compliance with applicable federal and state laws in connection With the LOAN;

16. The making or failure to make required or permissive disclosures in connection with
the LOAN, including, without limitation, information relating to real estate conunissions, broker
t`ees, l-lUD-l settiement statements, good faith estilnates, facts material to LAl’s decision to accept
or reject the LOAN, and other disclosures mandated or permitted by applicable laws or regulations;

17. A full accounting of all payments made by LAl or any other PERS ON in connection
with the LOAN, including the dates thereof;

18. A full accounting of all fees, costs, expenses, points, commissions, interest, and
other charges assessed to LAI or any other PERS ON in connection with the LOA.N, including the
dates thereof and any formulas used in the calculation of the same;

19. A full accotmting of all amounts credited to LAl or any other PERSON in
connection with the LOAN, including the dates thereof;

20. A full accounting of all services rendered in connection with the LOAN by NDSC
or any other PERSON, including, without limitation, by the respective einployees, agents, and/or
representatives ofNDSC and its predecessors-in-interest, successors-in-interest, snbsidiaries, parent
companies, or other afii.liates;

21. NDSC’s policies, procedures, and customary practices, together with industry-
standard poiicies, procedures, and customary practices in the financing and lending industries;

22. Any additional or nature advances made to LAI or any other P`ERSON in connection
with the LOAN;

23. The value of the PROPERTY and any equity therein at the time the LOAN was

originally made and at any time thereafter, including at the time any additional or future advances

were made;

24. Attempts to exercise any power of sale under the DEED OF TRUST or to otherwise
foreclose on the PR.OPER,TY, including without limitation, authorizations to proceed and other

decision-making authority in connection with the same;

25. Any alleged assignment of rents or other claim to rents arising from the

PROPERTY, including, without limitation, any authority for the saine;

Page 4 of 6

 

Woonnunr LAW

50 S. Stephanic Strcel, Suite 20¢

I'Icndcrson, chada 89012
(702) 933-0777+ Fax (7[12} 933-0778

ls.J

.1>

‘~DOQ--.]G\Lh

 

Case 2:15-cv-02247-APG-N.]K Document 48 Filed 07/20/16 Page 22 of 30

26. Any and ali notices of default and election to sell under the DEED OF TRUST,
including, without limitation, the Notice of Dei"ault and Election to Scl] under Deed of Trust
recorded on October 30, 20i4 in Boolt No. 20141030, as lnstrument No. 0003348 in the Oi`ticial
Records of the Recorder cf Clarlt County, Nevada;

27. Any and all notices of trustee’s sale pertaining to the PROPERTY, including,
without limitation, the Notice of "l`rustee’s Sale recorded on February 5, 2015 in Booic No.
20150205, as Instrument No. 0000157 ofthe OEiciat Records of the Recorder of Clark County,
Nevada and the Notice of Trustee’s Sale recorded on July 24, 2015 in Booic No. 20150724, as
lnstruntent No. 0000495 of the Official Records of the Recorder of Clarlc County, Nevada;

28. Any and all attempted or scheduled trustee’s sales or auctions of the PROPERTY,
together with any postponements or reschedulings thereot`, including, without liruitation, those
scheduled on I\/larch 3, 2015,Apri16, 2015, April 15, 2015, and August 19, 2015;

29. Any unpaid LOAN balances alleged in any notices ofdet`ault, notices ot`sale, payoff
statements, payment histories, or any other notices, accountings, or docurnents;

30. Written and verbal responses to Plaintifl"'s and any other PERSON’s requests for
an accounting of alleged LOAN balances, charges, payments, or credits and/or for validation or
verification of the debt alleged to he due and owing, including, without ]ixnitation, payoff
statements, payment histories, and any other accountings provided;

31. Policies, procedures, and/or practices followed to validate, verify, and account for
the aileged debt and LOAN balances, including, without limitation, charges, payments, and credits.

32. Facts and other evidence supporting NDSC’s affirmative defenses and any other
defenses to Plaintiff’s claims in the instant acticn;»

33. The meaning oi" ahbreviations and accounting codes listed on payoff Staternents,
payment histories, and other accountings provided in connection with the ]`_,OAN, together with any
interpretive iceys tlierei"or;

34. inconsistencies in the LOAN balances alleged to be due and owing over time;

35. Any communications with LAI, the other Defendants, Piaintift`, or any other

PERSON related to or in connection with the LOAN, the LOAN DOCUMENTS, or the

Page 5 of 6

 

Woonaunv LAW

50 S. Stcphanie Strect, Suitc 201

l'£cnderson._ chada BEJOEZ
(702) 933-0777+ Fax (702) 933~0778

LJ\

Case 2:15-cv-02247-APG-N.]K Document 48 Filed 07/20/16 Page 23 of 30

PROPERTY; and

the PROPERTY, or the instant action.

DAT.ED this 13th day of July, 2016.

 

36. Any other matters related to or arising out of the LOAN, the LOAN DOCLMENTS,

WOODBURY LAW
/s/ Rodney S. i'l'"cocibwj)

 

Rodney S. Woodbury, Esq.
Nevada Bar No. 7216

Jordan B. Peel, Esq.

Nevada Bar No. 11678

50 S. Stephanie Street, Suite 201
lienderson, Nevada 89012
jiffor!reysjbr P!crr'nrrj”

RECEIPT OF COPY
The undersigned hereby acknowledges receipt of the foregoing NOTICE OF TAKING
RULE 30(b)(6) I)EPOSITION OF DEFENDAN'I` NA'I`IONAL DEFAULT SERVIClNG
CORPORATION on behalf of Wright, Finiay, dc Zal<, LLP on the date set forth below.

Wright, Fin}ay, & Zak, LLP

By: //l/~//QM’

Name: M repairs F’L laeJr\/r`c/¢
rise aDMr`r\/ “S`$T
Date: July 13, 2016

Page 6 of 6

 

Case 2:15-cv-02247-APG-N.]K Document 48 Filed 07/20/16 Page 24 of 30

EXHIBIT C

EXHIBIT C

EXHIBIT C

Woonauav LAw

50 S. Stcphunie Strccl, Suite 201

licndcrscn, chatla 890 i 2
(702} 933-0777+ Fax (702) 933~0778

Case 2:15-cv-02247-APG-N.]K Document 48

U!

\DOO\JO\

Rodney S. Woodbury, Esq.
Nevada Bar No. 7216

Jordan B. Peel, Esq.

Nevada Bar No. 11678

WO ODBURY LAW

50 S. Stephanie Street, Suite 20l
Hendcrson, Nevada 89012

(702) 933-0777

(702) 933~0?78

rWoodbtny@wmb-law.net

jpeel@wmb~law.net

Filed 07/20/16 Page 25 of 30

UN]TED STATES DISTRICT COURT
DISTRICT OF NEVAI)A

WOODBURY LAW, LTD., a Nevada
professional corporationJ

Plaintiff,
vs.

BANK OF AMERICA, NATIONAL
ASSOCLATION, a national banking
association; BANK OF NEW YORK
MELLGN COR_PORATION, a Delaware
corporation; BAC I-IOME LOANS
SERVIC]NG, LP, a Texas limited
partnership; TI-IE CERTIFICATEHOLDERS
CWALT, INC. A,LTERNATIVE LOAN
TRUST 2005~59 MORTGAGE PASS-
THROUGH CERTIFICATES, SERIES
2005-59, an entity; ALTERNATIVE LOAN
TRUST 2005~59 MORTGAGE PASS~
THROUGH CERTIFICATES, SERIES
2005-59, an entity; NATIONAL DEFAULT
SERVIC]NG CORPORATION, an Arizona
corporation; SE]_.ECT PORTFOLIO
SERVIC[NG, iNC., a Utah corporation;
ANDREW S. LAI, an individual; DOES l»
100; ROE ENTITI`ES 1~100.

Defendants

 

 

 

TO:

Case No. 2:15-cv-02247~A_PG-NJK

No'rrcs: or rareth nuLn so(b)(c)
DEPosrrIoN OF DEFENDANT BANK
on NEW YORK MELON, am 'rr~la
BANK orr Naw YoRK, As TRUsTaE,
on BEHALF orr ran HoLDEas or
ran A.LTERNATE LOAN 'rrursT
200559, MORTGAGE PAss-THROUGH
cna'rrrrcaras, stearns 2005-59

Date oi` Deposition: .luly 29, 2016
Time ofDeposition: 1:00 p.rn.

BANK OF NEW YORK MELON, ftca THE BA_NK OF NEW YORK, AS

TRUSTEE, ON BEI'[ALF OF THE HOLDERS OF THE ALTERNATE LOAN
TRUS'I` 200559, MOR’I`GAGE PASS-THROUGH CERTIFICATES, SERIES

2005-59

 

Woor)aunv LAw

50 S. Stcphanie Strcet, Suitc 201

chr.|crson, Nevada 890!2
(702) 933-0777+ Fn.\' (702) 93 3-0778

Case 2:15-cv-02247-APG-N.]K Document 48 Filed 07/20/16 Page 26 of 30

\DDG--JO\

 

 

 

TO: SEAN N. PAYNE, ESQ., its attorney of rccord.

PLEASE TAKE NOTICE that Plaintift`/ Counterdet`endant WOODBURY LAW shall take
the deposition ofDefendant BANK OF NEW YORK MELON, ftca THE BANK OF NEW YORK,
AS TRUSTEE, ON BEHALF OF THE HOLDERS OF Tl-]E ALTERNATE LOAN TRUST 20059,

 

MORTGAGE PASS-Tl-IROUGH CERT]`FICATES, SERIES 2005-5 9 (“BON`Y”), on July 29, 2016
at 1:00 p.m. in the offices of Woodbury Law, Ltd., 50 S. Stephanie Street, Suite 201, Henderson,
Nevada 890 l 2, upon oral examination, pursuant to Rule 30 of the Federal Rules ofCivil Procedure.

YOU AR,E FURTHER NOT[FIED that the deposition shall be taken before a certified court
reporter, notary public or other ofhcer authorized to administer oaths by the State of Nevada at the
place where the deposition is to beheld. The deposition will be recorded by stenographic means
Yon are invited to attend and to cross-examine

YOU ARE FURTi-]ER NOTlFlED that the deponent is not a natural person. Pursuant to
F ederal Rule ofCivil Procedure 30[b)(6), you are advised ofDefendant’s duty to designate one or
more of its lmowledgeable ofticers, directors, managing agents, commissioners, employers or other
persons who consent to testify on its behalf concerning the subjects identified in this notice.
Defendant shall designate one (1) or more persons to testify on its behalf who shall be expected to
testify and provide full and competent testimony in the following areas of inquiry:

1. The tcmts ofthe loan in the original principal amount of$999,950.00 (the “LQ_,W”)
which A,ndrew S. Lai (“M”) purportedly obtained from Coruitrywide l-lome Loans, lnc.

(“COUNTRYWIDE”) on or about Septernber 1.5, 2005 ;
2. The promissory note LAI purportedly executed in favor of COUNTRYWIDE on or
about September 15 , 2005 in the original principal amount of $999,950.00 (the “M");

3. The deed of trust LAI purportedly executed in connection with the LOAN recorded
on Septernber 21, 2005 in Book No. 20050921, as lnstrurnent No. 0002040 in the Ofiicial Records
of the Recorder of Clark County, Nevada (the “DEED OF TRUST”) against certain real property
commonly known as 1999 Alcova R_idge Drive, Las ‘VegasJ Nevada 89135, A_PN 164~02-220-»007
(the “PROPERTY”);

4. Any other documents memorializing, evidencing, or pertaining to the LOAN

Page 2 of 6

 

Woonnunv LAW

50 5. Stephanic Strcet1 Suitc 201

l-lcndcrson._ Nevada 89012
(702) 93 3-077?+ lies (702) 933-07?8

Case 2:15-cv-02247-APG-N.]K Document 48 Filed 07/20/16 Page 27 of 30

‘~Dm--.JG\

 

(together with the NOTE and DEED OF TRUST, collectively the “LOAN DOCUMENTS”);

5. Any other contract, agreement, notice, or document in any way pertaining to the
LOAN, LAL or the PROPERTY;

6. BONY’s interest iu the LOA.N, in any ot` the LOAN DOCUl\/lEl\l'l`Sa and/or in the
PR.OPER.TY;

7. The interest, if any, of any other individuals or entities (collectively “PERS ONS“),
including any of the other Defendants, in the LOAN, in any of the LOAN DOCUMENTS, andfor
in the PROPERTY, including, without limitation, the identity of any investors therein;

8. BONY’s past and present relationship with each of the other Defendants in
connection with the LOAN, the LOAN DOCUi\/IENTS, andfor the PROPERTY;

9. The legal status ofALTERNATI\/E LOAN TRUST 2005 5 9 MORTGAGE PASS~
THROUGH CERTIFICATES, SER.IES 2005-59 (the “'_I`_ru___st”) and its relationship to and role in
connection with the LOAN, any of the LOAN DOCUM`ENTS, and/or the PROPERTY;

10. Negotiation, escrow, and closing of the LOAN and Defendant LAl’s acquisition of
the PROPERTY;

ll. Any purported assigninent(s), conveyance(s), negotiation(s), or transfer(s) of any
interest in the LOAN or any ot` the LOAN DOCUMENTS, the authority for doing so, the chain»of-
title and/or cham-of-authority in connection with the sanie, and compliance with Nevada Revised
Statutes (“l\l__l_§__$_”) Chapter 104 and any other applicable laws in connection with the same;

12. Any purported appointment(s), designation(s), substitution(s), or other
engagement(s) of LOAN servicers, LOAN officers LOAN hrol<ers, n~ustees under the DEED OF
TRUST, or any other agents or representatives in connection with the LOAN or any of the l`_.OAN
DO CUMENTS, the authority for doing so, the chain-of-authority in connection with the same, and
compliance with applicable laws in connection with the same;

ll Past and current possession of the original NOTE and the chain~of-custody in
connection with the sarne;

14. BONY’s and its predecessors’ investigation ot`LAl and other due diligence efforts

in connection with the negotiation, rnaldng, and/or acquisition of any interest in the LOAN, in any

Page 3 of 6

 

WOODBURY LAW

50 S. Stephrmie Strcet, Suite 201

E-lendersrm, Nevnda 890 E.'!
{7{}?.) 933-0777+ Fax (702) 933~0778

Case 2:15-cv-02247-APG-N.]K Document 48 Filed 07/20/16 Page 28 ot 30

-¥`-L»¢t\..)

O\L.h

 

of the LOAN DOCUl\/[ENTS, and/or in the PROPERTY, including, without limitation, background
checlts, public records searches, determination of debt-to~inconie and debt~to-value ratios, and
screening of LAl’s nnancial ability to repay the LOAN;

lS. Conipliance with applicable federal and state laws in connection with the LOAN;

16. The making or failure to make required or permissive disclosures in connection with
the LOAN, including without limitation, information relating to real estate conlrnissions, broker
fees, HUD-l settlement statements, good faith estimates, facts material to LAI’s decision to accept
or reject the LOAN, and other disclosures mandated or permitted by applicable laws or regu] ations;

l7. A full accounting ofall payments made by LAI or any other PERS ON in connection
with the LOAN, including the dates thereof;

18. A full accounting ot` all fees, costs, expenses= points, conintissions, interest, and
other charges assessed to LAl or any other PERSON in connection with the LOAN, including the
dates thereof and any formulas used in the calculation ofthc salne;

19. A full accounting of all amounts credited to LA] or any other PERSON in
connection with the LOAN, including the dates thereof;

20. A t`ull accounting of all services rendered in connection with the LOAN by BONY
or any other PERSON, including, Without limitation, by the respective employees, agents, and/or
representatives of BONY and its predecessors»in-interest, successors~in-interest, subsidiaries,
parent companies, or other afliliates;

21 . BONY’s policies, procedures and customary prac'tices, together with industry~
standard policies, procedures, and customary practices in the financing and lending industries;

22. Any additional or future advances made to LAl or any other PERS ON in connection
With the LOAN;

23. The value of the PROPERTY and any equity therein at the time the LOAN was
originally made and at anytime thereafter, including at the tiine any additional or future advances
were niade;

24. Attcmpts to exercise any power ol" sale under the DEED OF TRUST or to otherwise

foreclose on the PROPERTY, including, without limitation, authorizations to proceed and other

Page 4 of 6

 

Woo_nnunv LAW

50 S. Stcphtmic Strcct, Suitc ?_Dl

Hendcrscn. chada 890 12
(7{}2] 933-0777+ i"ax {702) 933-U77B

\DQQ--_]G\LJ\-il-

 

Case 2:15-cv-02247-APG-N.]K Document 48 Filed 07/20/16 Page 29 ot 30

decision-melting authority in connection with the same;

25. Any alleged assignment of rents or other claim to rents arising horn the
PROPERTY, including, without limitation, any authority for the same;

26. Any and all notices of default and election to sell under the DEED OF TRUST,
including, without lilnitation, the Notice of Default and Election to Se]l under Deed of Trust
recorded on October 30, 2014 in Book No. ?.Gl/-ltOBO, as instrument No. 0003348 in the Ofticial
Records of the Recorcler of Clarlt County, Nevada;

27. Any and all notices oi" trustee’s sale pertaining to the PROPERTY, including,
without limitation, the Notice of Trustee’s Sale recorded on Februaty 5, 2015 in Book No.
20150205, as last:rument No. 9000157 of the Ofticial Records ot` the Recorder of Clark County,
Nevada and the Notice of Trustee’s Sale recorded on July 24, 2015 in Boo|c No. 20150724, as
Instrutnent No. 0000495 of the Oft`icial Records of the Recorder of Clarlt County, Nevada;

28. Any and all attempted or scheduled trustee’s sales or auctions of the PROPERTY,
together with any postponements or reschedulings thereof, including, without limitation, those
scheduled on March 3_. 2015, April 6, 2015, April 15, 2015, and August l9, 2015;

29. Any unpaid LC)AN balances alleged in any notices of default, notices ofsale, payoff
statements, payment histories, or any other notices, accountings, or docum.ents;

30. Wn`tten and verbal responses to Plaintist and any other PERSON’s requests for
an accounting ol" alleged LOAN balances, charges, payments, or credits and/or for validation or
verilication of the debt alleged to be due and cwing, includingl without limitation, payo'l:l"
statements, payment histories, and any other accountings provided;

31. Policies, procedures, and/or practices followed to validate, verify, and account for
the alleged debt and LOAN balances, including, without limitation, charges, payments, and credits

32. Facts and other evidence supporting BONY‘s counterclaims in the instant action;

33. Facts and other evidence supporting BONY’s at’lirmative defenses and any other
defenses to Plaintift"s claims in the instant action;

34. The meaning of abbreviations and accounting codes listed on payoft` statements

payment histories, and other accountings provided in connection with the LOAN, together with any

Page 5 cf 6

 

WooDnURY LAW

50 S. Stephzmie Strcct, Suitc 201

l~icnderson, chado 89012
(702} 933-0777+ i~`ax (702} 933-0778

I\J

--.`|O\Ul-l=-L)J

 

Case 2:15-cv-02247-APG-N.]K Document 48 Filed 07/20/16 Page 30 of 30

interpretive keys thel'efor;

35 . lnconsistencies in the LOAN balances alleged to he due and owing over tirne;

36. Any communications with LAI, the other Defendants, Plaintiff, or any other
PERSON related to or in connection with the LOAN, the LOAN DOCUMENTS, or the

PROPERTY; and
37. Any other matters related to or arising out of the LOAN, the LOAN DOCUMENTS:

the PROPERTY, or the instant action.

DATED this 13th day of July, 2016. WUODBURY LAW

/S/ RO£?'}IEy S_ ]"Vgodbwj)

 

Rodney S. Woodbuly, Esq_.
Nevada Bar No. 7216

Jordan B. Peel, Esq,

Nevada Bar No. 11678

50 S. Stephanie Street, Suite 201
Henderson, Nevada 89012
Al'romeysfor Plor`ntg‘;j”

RECEIPT OF COPY
The undersigned hereby acknowledges receipt of the foregoing NOTICE OF TAKING
RULE 30(b)(6) DEPOSITION OF DEFENDANT BANK OF NEW YORK MELON, ika THE
BANK OF NEW YORK, AS TRUSTEE, ON BEHALF OF THE HOLDERS OF THE
ALTERNATE LOAN TRUST 200559, MOR’I`GAGE PASS-THROUG-H CERTIFICATES,
SERIES 2005-59 on behalf of Wright, Finlay, & Zalt, LLP on the date set forth below.

Wright, Finlay, & Zalc, LLP

By: Vl/\~ w

Nalne: A? MQ'E/'LS`S`G\ 2550/tote-
riae: 01 DM/`a/ ar § S`V.

Date: .luly 13, 2016

Page 6 of 6

 

